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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
__________________________________________
                                           )
RTM CAPTIAL PARTNERS, INC.,                )
LPV, 15- HERMITAGE, LLC, and              )   CASE NO. 3:21-CV-01462 (SDV)
MATTHEW CURTIS,                           )
                                          )
                        Plaintiffs,       )
                                          )
v.                                        )
                                          )
JAMES R. BARNES,                          )
                                          )
                        Defendant.        )
__________________________________________)

                                 NOTICE OF APPEARANCE
       The undersigned counsel, Christopher H. Blau, of the law firm of Zeisler & Zeisler, P.C.,

hereby gives notice of his appearance in this case on behalf of the intervenor, Barnstormer Summit

Lift, LLC, and requests service of all notices, pleadings and other papers filed in this case as

required by the applicable rules of procedure or by order of the Court.

       I certify that I am admitted to practice in this Court.

Dated: June 28, 2022
                                              INTERVENOR
                                              BARNSTORMER SUMMIT LIFT, LLC

                                              /s/ Christopher H. Blau
                                              Christopher H. Blau (ct30120)
                                              Zeisler & Zeisler, P.C.
                                              10 Middle Floor, 15th Floor
                                              Bridgeport, CT 06604
                                              Telephone: (203) 368-4234
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on June 28, 2022, a copy of this Appearance was electronically filed.
Notice of this filing will be sent, via email, to all parties able to receive electronic notification, by
operation of the Court’s electronic filing system and as listed on the Notice of Electronic Filings.
Parties may access this filing through the court’s CM/ECF case management system.




                                                   By: /s/ Christopher H. Blau
                                                       Christopher H. Blau (ct30120)
